
OPINION OF THE COURT
Memorandum.
The order of the Appellate Division should be affirmed.
The Appellate Division’s factual finding does not preclude an appeal to this court (People v Albro, 52 NY2d 619, 624). The warrantless search of defendants’ automobile salvage yard was not undertaken for administrative purposes. Thus, New York City Charter § 436 is inapplicable, and the evidence obtained must be suppressed as acquired in violation of the constitutional proscription against unreasonable searches and seizures.
Chief Judge Wachtler and Judges Jasen, Meyer, Simons, Kaye and Alexander concur; Judge Titone taking no part.
Order affirmed in a memorandum.
